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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff                                   CRIMINAL 12-0192-53CCC
 vs
 53) JOSE PORFIL,
 a/k/a “Cheito/Porfil”
 Defendant



                                    ORDER

      Having considered the Report and Recommendation filed on June 30,
2015 (D.E. 1887) on a Rule 11 proceeding of defendant [53] José Porfil before
U.S. Magistrate-Judge Camille L. Vélez-Rivé on June 25, 2015, to which no
objection has been filed, the same is APPROVED. Accordingly, the plea of
guilty of defendant is accepted. The Court FINDS that his plea was voluntary
and intelligently entered with awareness of his rights and the consequences of
pleading guilty and contains all elements of the offense charged in the
indictment.
      This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since June 25, 2015. The sentencing
hearing is set for October 27, 2015 at 4:30 PM.
      The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
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objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
     SO ORDERED.
     At San Juan, Puerto Rico, on July 23, 2015.



                                          S/CARMEN CONSUELO CEREZO
                                          United States District Judge
